  Case 2:19-cv-05020-MWF-RAO Document 41 Filed 11/16/21 Page 1 of 2 Page ID #:530




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL

Case No.     CV 19-5020-MWF(RAOx)                                     Dated: November 16, 2021

Title:       Balbina Padilla -v- Alta Dena Certified Dairy, LLC, et al.

PRESENT:     HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

             Rita Sanchez                               Amy Diaz
             Courtroom Deputy                           Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

             Katherine J. Odenbreit                     Spencer C. Skeen
             Atoy Hari Wilson                           Nikolas T. Djordjevski
             Berkeh Alemzadeh                           Timothy L. Johnson
             Edward E. Kim
             Kevin Mahoney

PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE

       On October 15, 2021, the Court vacated the October 18, 2021 Final Pretrial
Conference and November 9, 2021 Jury Trial. The Court further ordered the parties to show
cause by October 29, 2021, regarding the status of the bankruptcy as set forth in the
Suggestion of Bankruptcy, filed November 19, 2019, and ordered the response to include the
status of this action since the dismissal of the appeal (“OSC”). (Docket No. 40).

       No response to the OSC has been filed. The parties are ORDERED to SHOW
CAUSE no later than DECEMBER 3, 2021, by filing a Joint Status Report regarding the
Suggestion of Bankruptcy and the status of this action since dismissal of the appeal. If
Defendants refuse to cooperate, Plaintiff shall file a unilateral report by that date. If no status
report is filed by the deadline, the action will be dismissed for failure to prosecute.

         IT IS SO ORDERED.

                                                -1-
Case 2:19-cv-05020-MWF-RAO Document 41 Filed 11/16/21 Page 2 of 2 Page ID #:531




                                      -2-
